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                                                                                FILED
                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF WYOMING

 In re:                                         )
                                                ) Case No. 24-20226
 Clicked AI                                     )                               5:07 pm, 6/27/24

                                                ) Chapter 11                   Tim J. Ellis
          Debtor-in-Possession.                 ) Subchapter V                Clerk of Court
                                                )
________________________________
                   AGREED INTERIM ORDER AUTHORIZING USE OF CASH
                     COLLATERAL AND SETTING FINAL HEARING



          THIS MATTER comes to be heard before the Court upon the motion of Clicked

AI (“Debtor”), debtor-in-possession herein for entry of an interim order (i) authorizing

use of cash collateral, (ii) providing for adequate protection, (iii) setting a final hearing,

and (iv) granting related relief (the “Motion”).

          NOW THEREFORE, based upon the Court’s review of the Motion and no

objections having been filed, and having held an interim hearing on the Motion, the

Court finds (a) it has jurisdiction over this matter; (b) due notice of the Motion

was provided under the circumstances; (c) the relief requested in the Motion is in the

best interests of the Debtor and its estate and creditors; and, (d) there is good cause to

grant the Motion on an interim basis. Therefore, it is:

          ORDERED that the Motion is GRANTED on an interim basis, pending a final

 hearing on the Motion set for August 8, 2024 at 10:00 a.m. in the United States
 Bankruptcy Courtroom, 2120 Capitol Avenue, 8th Floor, Cheyenne, Wyoming.

  IT IS FURTHER ORDERED that the Debtor shall no later than seven (7) days from

          the date of entry of this order serve on Debtor’s top-twenty unsecured creditors,
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priority creditors, secured creditors, the US Trustee, subchapter V trustee, and those

appearing and requesting notice, this interim order and a proposed final order authorizing

the use of Cash Collateral. Any objections to the proposed final order shall be filed on or

before seven (7) days prior to the date of the final hearing.

       IT IS FURTHER ORDERED that the Debtor may use Cash Collateral as defined

in the Motion in accordance with, and subject to, the terms and provisions of the Motion

and Budget (as defined in the Motion) and attached hereto as Exhibit A, effective as of

the date of the filing of the Motion.

       IT IS FURTHER ORDERED that notwithstanding the entry of this Order, nothing

contained herein shall be construed to mean that any lien or security interest of any

secured lender is valid, perfected and/or enforceable in all respects. Nothing contained

herein shall prevent the Debtor, a creditor, or other party-in-interest from contesting the

validity, perfection, and enforceability, or priority of a secured party’s liens, or from

raising any defenses, offsets, deductions or counterclaims thereto.

       IT IS FURTHER ORDERED that to satisfy the rights of Amazon Capital Services,

Inc. (“ACS”) and any other secured creditors (together with ACS, the “Secured

Creditors”) to adequate protection of their interest in the Debtor’s cash collateral, the

Secured Creditors are hereby granted, pursuant to Section 361, 363, and 552(b) of the

Bankruptcy Code, valid, attached, choate, enforceable, perfected, post-petition security

interests and liens in and against all post-petition assets of the Debtor of the same character

and type, to the same nature, extent, validity, and priority that existed prepetition, and to

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the extent of diminution in value of the Secured Creditors’ collateral caused by the

Debtor’s use of Cash Collateral.

       IT IS FURTHER ORDERED that ACS shall release, and cause any of its affiliates

such as Amazon.com, Inc. or Amazon.com Services LLC to release the funds in the

Debtor’s Amazon.com seller account after deduction of the adequate protection payments

owed to ACS hereunder, as well as any fees, expenses, and reimbursements, owed under

the terms of the Business Solutions Agreement (“BSA”) between the Debtor and

Amazon.com Services, LLC.

       IT IS FURTHER ORDERED that the Secured Creditors shall hold allowed

administrative claims under Section 507(b) of the Bankruptcy Code with respect to the

adequate protection obligations of the Debtor to the extent that the replacement liens and

post-petition collateral do not adequately protect the diminution in value of the interests

of Secured Creditors in their prepetition collateral. The administrative claims shall be

payable from and have recourse to all prepetition and post-petition property of the Debtor

and all proceeds thereof. The liens on post-petition collateral shall be in addition to any

prepetition liens held by Secured Creditors, and shall remain in full force and effect

notwithstanding any subsequent conversion or dismissal of this case.

       IT IS FURTHER ORDERED that as adequate protection for ACS’ interest in Cash

Collateral as required by 11 U.S.C. §§ 361 and 363(e), to the extent the Debtor consumes

Cash Collateral, collects and consumers proceeds from accounts constituting Cash

Collateral, and for any other use or diminution in the value of the Cash Collateral during

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the Debtor’s bankruptcy case, the Debtor shall pay ACS the sum of $5,000.00 per month,

which ACS shall be entitled to deduct from funds in the Debtor’s Amazon seller account.

       IT IS FURTHER ORDERED that the Debtor will provide the Secured Creditors

with an accounting, on a monthly basis, of all revenue, expenditures, bank account

information, and collections with description of any variances from the budget by way of

filing monthly operating reports with the Court and providing a variance report to Secured

Creditors. No line item in the budget shall be more than 10% of the budgeted amount and

the Debtor shall not vary the expenditures in the budget by more than 10%.

       IT IS FURTHER ORDERED that nothing contained herein shall be a waiver by

Secured Creditors from seeking further or additional adequate protection of their

collateral, asserting objections to the Debtor’s further use of Cash Collateral, filing any

motions or objections to the use of cash collateral, or pursing any other rights or

remedies available to them under law or equity.

       IT IS FURTHER ORDERED that this Court retains jurisdiction to hear and

determine    all   matters    arising   from       or   related   to   the implementation,

interpretation and/or enforcement of this Order.

                                          BY THE COURT:


                                                                            6/27/2024

                                          Hon. Cathleen D. Parker
                                          United States Bankruptcy Court




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ClickedAI - Budgeting
                                                            July 2024          August 2024    September 2024   October 2024   November 2024   December 2024
Income
Amazon Sales                                               $225,000.00         $246,000.00     $260,000.00     $265,000.00     $292,000.00     $395,000.00
Other Revenue                                              $12,000.00             $0.00           $0.00           $0.00           $0.00           $0.00
Cost of Goods Sold
Amazon Refunds                                             -$11,250.00         -$12,300.00      -$13,000.00    -$13,250.00     -$14,600.00     -$19,750.00
Amazon Expenses: Amazon Fees                               -$77,625.00         -$84,870.00      -$89,700.00    -$94,075.00     -$103,660.00    -$140,225.00
                                                                                                                                                                                  Case 24-20226




Amazon Expenses: Others (FBA fees, Promo rebates, Storage, Shipping
                                                           -$17,200.00
                                                                    charges, Others)
                                                                                -$18,530.00     -$19,457.00    -$31,000.00     -$36,000.00     -$42,000.00
Inventory Acquisition / Cost of Goods Sold                 -$77,106.62         -$79,631.00      -$68,604.00    -$61,257.00     -$66,521.00     -$89,961.00
Logistics                                                  -$12,500.00          -$7,500.00      -$24,000.00    -$18,000.00     -$14,000.00     -$14,000.00
Operating Expenses
Advertising & Marketing                                    -$22,500.00         -$24,600.00      -$26,000.00    -$26,500.00     -$33,580.00     -$61,225.00
                                                                                                                                                                                  Doc 30




Insurance                                                                        -$200.00                       -$779.00
Legal Expense                                                -$89.00             -$89.00         -$89.00         -$89.00         -$89.00         -$89.00
Meal or Entertainment                                       -$900.00             -$900.00        -$900.00       -$900.00         -$900.00       -$900.00
Office Expense                                              -$500.00             -$500.00        -$500.00       -$500.00         -$500.00       -$500.00
Office Rent                                                -$1,150.00           -$1,150.00      -$1,150.00      -$1,150.00      -$1,150.00      -$1,150.00
Other Fees                                                  -$179.38             -$130.00
                                                                                                                                                                Document




Payroll & Benefits                                         -$12,500.00         -$12,500.00      -$13,000.00    -$13,500.00     -$14,500.00     -$19,000.00
Software or Service                                        -$1,000.00            -$600.00        -$600.00       -$1,000.00      -$2,500.00      -$1,200.00
Cash Collateral                                            -$2,500.00           -$2,500.00      -$3,000.00      -$3,000.00      -$4,000.00      -$5,000.00
Cash & Cash Equivalent                                        $0.00               $0.00           $0.00           $0.00           $0.00           $0.00
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     Exhibit A
                                                                                                                                                                                  Desc Main
